






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00177-CV






Gerald Wayne Inman, Appellant


v.


Sherry Ann Bryant, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT

NO. 99,291-B, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	The trial court signed an order awarding appellee Sherry Ann Bryan almost
$30,000&nbsp;in child support arrearages from appellant Gerald Wayne Inman.  Appellant, representing
himself pro se, timely filed a notice of appeal and affidavit of indigence on March 14, 2008.  He filed
a  motion in this Court asking us to suspend the enforcement of the judgment and allow him to
proceed without posting a supersedeas bond and a later motion again asking us to suspend the
judgment and seeking an extension of time to pay his filing fees.  We abated the appeal to allow the
trial court to determine whether the judgment should be suspended and if so, under what conditions. 
In July, the trial court held a hearing and denied appellant's motion to suspend judgment pending
appeal and found that appellant is not indigent.  

	Since filing his notice of appeal and motions to suspend judgment, appellant has
apparently moved and has not provided this Court with a forwarding address.  Our attempts to locate
appellant have failed, and on October 17, 2008, after several fruitless attempts to contact appellant,
we sent notice to appellant that his brief was overdue and that the appeal would be subject to
dismissal if appellant did not respond by October 27.  To date, appellant has not responded to our
notification.  We therefore dismiss the appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).


					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   December 19, 2008


